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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS                      ....ffii$B,$ffi8l8[rnr
                             EASTERN DIVISION


UNITED STATES OF AMERICA                        Case   No. 19 CR322
              v.                                Violations: Titie 18, United States
                                                Code, Sections 666(a)(1), 666(a)(2),
EDWARD M. BURKE,                          )     1001(aX2), 1951(a), 1952(aX3),
PETER J. ANDREWS, and                     )     \962(c) and?
CHARLES CUI                               )
                                          )     SUPERSEDING INDICTMENT
                                                .l.MEDEY
                                               MAGISTRATE JUD6E COIE
                                      COUNT ONE

       THE SPECIAL DECEMBER 2017 GRAND JURY charges:

       1 Attimes-'::,::'iT;:",il:#;'J.
              a.     The City of Chicago was a unit of local government known as a

municipal corporation, and a political subdivision of the State of lllinois. The City of

Chicago annually received in excess of $10,000 in federal benefits in the following calendar

years: 2016,2017, and 2018.

              b.     The City of Chicago's legislative branch of government was the

Chicago City Council (the "City Council"), which was comprised of fifty City Council

members, each of whom represented one of Chicago's fifby wards, and who were also

known as Aldermen. The Aldermen were compensated and publicly elected. It was

one of the functions of Aldermen to provide or withhold their suppog for real estate.

development projects proposed for land in their respective wards, which support or non-

support was instrumental in securing necessary governmental action or inaetion relating
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to the proposed projects, as well as the assistance or non-assistance of third parties

concerning the projects.

                     The City Council maintained a Committee on Finance, which

exercised legislative powers pertaining to the City of Chicago's finances. The

Committee on Finance's powers included making recommendations to the fuIl City

Council on whether to approve tax increment financing ("TIF") and "Class L"

designations. TIF was a special funding tool used by the City of Chicago to promote

public and private investment across the City. A Class L designation was a special real

estate tax assessment classification in Cook County that was designed to encourage the

preservation and rehabititation of landmark commercial, industrial not-for-profit, and

multi-family residential buildings. If a property was designated as "Class L," owners

could have their property tax assessment levels reduced for a period ofyears, provided

they met certain investment and other requirements. Individuals or entities seeking to

obtain TIF funds or Class L designation had to submit an application, which would be

referred to the Committee on Finance for review. If approved by the Committee on

Finance, the application would be submitted to the full City Council for a vote.

             d.     The City Council maintained a Committee on Zontng, Landmarks &

Building Standards, which exercised legislative powers pertaining to land use in the City

of Chicago, including the approval of zoning changes and other atthonzations required

for real estate development projects.

             e.     The City of Chicago Department of Buildings was an agency of the

City of Chicago. The Department of Buildings issued building permits and sign permits
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in the City of Chicago. Commissioner C was the Commissioner for the Department of

Buildings:                                               ,

         f.           The City of Chicago Department of Planning and Development was

an agency of the City of Chicago. Among other things, the Department of Planning and

Development ensured that building permits complied with the Chicago Zoning

Ordinance. Administrator C was the Zoning Administrator for the Department of

Planning and Development.

               g.     Defendant EDWARD M. BURKE was Aiderman of the Fourbeenth

Ward in Chicago, a member of the City Council, and Chairman of the Committee on

Finance. As Chairman of the Committee on Finance, BURKE had authority overwhich

matters would be considered by that Committee. BURKE was an employee and agent

of the City of Chicago, and was paid a salary by the City of Chicago. BURKE's

Aldermanic office was located within City Hall, which was locate d at l2TNorth LaSalle

Street, in Chicago.

               h.     BURKE was admitted to practice iaw in Illinois and was the

proprietor of a private law firm, Klafter & Burke, which specialized in contesting tax

assessments made on real properby and seeking reductions in such tax assessments for

the firm's clients.

               i.     Company A was a New York-based real estate company that, among

other things, was involved in the renovation and redevelopment of the Old Chicago Post

Office located in the vicinity of the Eisenhower Expressway and South Canal Street in

Chicago, Itlinois (the "Post Office project"). Individual A-1 was associated with
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Company A and was involved in overseeing and managing the Post Offrce project.

Individual A-2 was an employee of Company A. A limited liability company affiliated

with Company A was the owner of the Post Office property.

               j.    Alderman A was Alderman of the Tkenty-Fifbh Ward in Chicago

and Chairman of the Committee on Zoning, Landmarks & Building Standards. As

Chairman of the Committee onZoning, Landmarks & Building Standards, Alderman A

had authority over which matters would be cbnsidered by that Committee. Alderman

A was an employee and agent of the City of Chicago, and was paid a salary by the City of

Chicago. Aiderman A's Aldermanic offrce was located within City Hall. The Post

          project was located within Alderman A's ward. Unbeknownst to BURKE and
.Office
others, Alderman A was cooperating with the Federal Bureau of Investigation, and acted

at the direction of law enforcement in conneetion with BURKE's efforts to obtain

business for his private law firm from Company A.

               k.    The National Railroad Passenger Corporation (commonly known as

"Amtrak") was a corporation estabiished by an Act of the United States Congress to

provide passenger rail service to the public. Amtrak owned and operated Union

Station, a railroad terminai station located in Chicago, Iilinois, together with the railroad

tracks and rights of way adjacent to Union Station. Some of Amtrak's property was

near the Post Office property. Individual A-3 was an employee of Amtrak.

               t.    The City of Chicago Department of Water Management (the "Water

Department") was an agency of the City of Chicago, headed by an individual known as


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the Commissioner of the Water Department (the 'lVater Commissioner"). Individual

A-4 was a former Water Commissioner.

              m.     Company B was an Illinois corporation with its principal office in

Texas that operated fast food restaurants, including restaurants located in the Chicago

metropolitan area, and was affiliated with a company that operated fast food restaurants

throughoutthe country. Individual B-1 and Individual B-2 were executives of Company

B.

                     PETER J. ANDREWS worked for BURKE in BURKE's
Fourteenth Ward office.

              o.     Company C was a limited iiability company which owned the

property located at 4901 West Irving Park Road in Chicago, Illinois (the "4901

Property"), which was located in an area outside of BURKE's ward.

              p.    CHARLES CUI was the managing member of Company C,

graduated from a law school located in Chicago, was admitted to practice law in Michigan,

and operated his own law firm.

              q.    Individual C-1 was associated with a real estate consulting and

project management firm in Chicago

              f.    Individual C-2 was a real estate attorney located in Park Ridge,

Illinois.

              s.    Company D was a retailer with multiple retail outlets in the

Chicagoland area. Company D had contracted with Company C to operate a retail

outlet at the 4901 Property.
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             ,t.     Museum 1 was a charitable,organization and educational institution

that hosted exhibitions and other programs open to the public. Museum 1 was located

on property owned by the Chicago Park District, a unit of local government known as a

munieipal corporation. The duties of the Chicago Park District and its Board of

Commissioners (the "Park District Board") included approving any changes to the basic

admission fees charged by Museum 1. Individual E-1 was the child of a personal

acquaintance of BURKE. Individual E-2 was an employee at Museum 1, and Individual

E-3 was an executive at Museum 1.

                           Municioal Law: Ethics Ordinance

              u.     There was in force and effect an ethics ordinance for the City of

Chicago. Among other things, Section 2-156-018 of the ethics ordinance required evely

city offrcial to report, directly and without undue delay, to the City's Inspector General

or Legisiative Inspector General any and all information concerning conduct which was

known, or should have been reasonably known, to involve cormpt or other unlawfirl

activity. Section 2-156-030 of the ethics ordinance provided in pertinent part as follows:
       2-156-030. Improperinfluence

       (a) No official or employee shall make, participate in making or in any way
attempt to use his position to influence any city governmental decision or action in which
he knows or has reason to know that he has any financial interest distinguishable from
its effect on the public generally, or from which he has derived any income or
compensation during the preceding twelve months or from which he reasonabiy expects
to derive any income or compensation in the following twelve months.

       (b) No elected official, or any person acting at the direction of such offlcial, shali
contact either orally or in writing any other city official or employee with respect to any
matter involving any person with whom the eleeted offrcial has any business relationship
that creates a financial interest on the part of the offrcial, or the domestic partner or
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spouse of the official, or from whom or which he has derived any income or compensation
during the preceding tweive months or foom whom or which he reasonabiy expects to
derive any income or compensation in the following twelve months. In addition, no
elected offlcial may participate in any discussion in any city council committee hearing or
in any city council meeting or vote on any matter involving the person with whom the
elected official has any business relationship that creates a flnancial interest on the part
of the official, or the domestic partner or spouse of the official, or from whom or which he
has derived any.income or compensation during the preceding twelve months or from
whom or which he reasonably expects to derive any income or compensation in the
following twelve months.

                          State Law: Acts Involving Bribery

              v.     There was in force and effect felony criminal statutes of the State of

Illinois which were punishable by imprisonment for more than one year,including the

bribery statute, Chapter 720 Illinois Compiled Statutes, $ 5/33-1(a), (d)-(e); the Illinois

Official Misconduct statute, Chapter 720 Illinois Compiled Statutes, $ 5/33-3(a)(4); and

the Attempt statute, Chapter 720 Illinois Compiled Statutes, $ 5/8-4, that prohibited an

attempt to commit an offense, including bribery.

       These statutes provided in pertinent part:

       Seetion 33-1. Bribery

      A person commits bribery when:

      (a) With intent to influence the performance of any act related to the
employment or function of any public officer, public employee, jwor or witness, he or she
promises or tenders to that person any property or personal advantage which he or she
is not authorized by law to accept; or

      (d) He or she receives, retains or agrees to accept any property or personal
advantage which he or she is not authorizedby law to aecept knowing that the property
or personal advantage was promised or tendered with intent to cause him or her to
influence the performance of any act related to the employment or function of any public
officer, public employee, juror or witness; or



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       (e) He or she solicits, receives, retains, or agrees to accept any property or
personal advantage pursuant to an understanding that he or she shali improperly
influence or attempt to influence the performance of any act related to the emplo;rment
or function of any public officer, public employee, juror or witness

       Section 33-3. Offrcial Misconduct

       (a) A public offrcer or employee or special government agent commits
misconduct when, in his officia1 capaeity or capacity as a special government agent, he or
she commits any of the following acts:

       (4) Solicits or knowingly accepts for the performance of any act afee or reward
which he knows is not authorized by law.

       Section 5/8-4. Attempt

       (a) Elements of the offense. A person commits the offense of attempt when,
with intent to commit a specific offense, he or she does any act that constitutes a
substantial step toward the commission of that offense.

                         Federal Law: Extortion and Use of
                    Interstate Faeility in Aid of Unlaw'fuI Activity

              w.     There was in force and effect a federal statute, Title 18, United

States Code, Section 1957, which prohibited extortion, attempted extortion, and

conspiracy to commit extortion affecting commerce either through the wrongful use of

actual and threatened fear of economic harm or under color of offrcial right or both.

              x.     There was in force and effect a federal statute, Title 18, United

States Code, Section L952, which prohibited the use of any facility in interstate commerce

in aid of unlawful activity, including extortion and bribery in violation of the laws of the

United States and the State of Illinois.
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                               I. THE ENTERPRISE
       2.     At times material to this indictment, the City of Chicago, including its
agencies, offices, and legislative branch, was an "enterprise" as that term is defined in

Title 18, United States Code, Section 1961(4), which was engaged in, and the activities of

which affected, interstate and foreign commerce

                      II. THE RACKETEERING VIOTATION
       3.     Beginning no later than in or around 20t6,and continuing through in or

around 2018, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                EDWARD M. BURKE,

defendant herein, being a person employed by and associated with an enterprise, that is,

the City of Chicago, which enterprise engaged in, and the activities of which affected

interstate and foreign commerce, unlawfully and knowingly conducted and participated,

directly and indirectly, in the conduct of the affairs of the City of Chicago through a

pattern of racketeering activity, as that term is defined in Title 18, United States Code,

Sections 1961(1) and (5), through the commission of the racketeering acts set forth in

paragraph 84 below.

    III. MANNER AND MEANS OF THE RACKETEERING VIOLATION
      4.     Defendant EDWARD M. BURKE used his positions as Alderman and

Chairman of the Committee on Finance to solicit.and receive from persons and parties

having business with the City of Chicago, or otherwise subject to the authority and

powers vested in BURKE and Alderman A as Aldermen, bribes and unlawful personal



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financial advantage in the form of fees arising from the retention of his law firm, Klafter

& Burke, as well as private benefits for BURKE's personal associates.

                          Cormpt Solicitation of Company A
                      in Cqnnection with the Post Offree project

      5.     BURKE corruptly soiicited legal business from Company A and Individual

A-1 for BURKE's law firm, Klafter & Burke, in return for BURKE's official assistance

concerning the redevelopment of, and frnancing concerning, the Post Office project, a

deveiopment project located in Alderman A's ward.

      6.      On or about August 26,20L6, BURKE asked Alderman A to recommend

BURKE's law firm, Klafber & Burke, to Individual A-1 to do tax work for Company A.

Alderman A agreed to do so, and BURKE suggested to Alderman A that he and

Alderman A couid then talk about a "marketing affangement" from BURKE in return

for securing Company A as a client for BURKE's firm.

      7.     On or about September 26,20!6,wtrile meeting with BURKE in BURKE's

office at City Hall, BURKE asked Alderman A to set up a meeting with Individuai A-1

so that BURKE could solicit business for his law frrm, Klafler & Burke, from Individual

A-1. Alderman A asked about the marketing arrangement BURKE had mentioned
earlier, and BURKE advised that he was a "believer in sharing the wealth."

      8.     On or about October 27, 2A16, BURKE and Alderman A met with

Individual A-L and Individual A-2 in Alderman A's office at City HaIl. During the

meeting, BURKE solicited tax work for his firm, Klafber & Burke. In addition,

Individual A-1 discussed various issues faced by the Post Office project, including

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problems with Amtrak. BURKE assured Individual A-1that there weren't "too many

people around town that we don't know." After Individual A-1 departed the meeting,

Alderman A asked BURKE about the marketing arrangement BURKE had mentioned

earlier, and BURKE encouraged Alderman A to refer additional clients to BURKE's

firm.

         g.    On or about November 7,20L6,BURKE met with Alderman A in BURKE's

City Halt office and discussed the possible retention of BURKE's firm, Klafter & Burke,

by Company A. Alderman A advised BURKE that Alderman A intended to remind

Individual A-1 that Individual A-1 needed "a lot of approvals" concerning the Post Office

project, and that Alderman A believed that Alderman A could get Individual A-1 to hire

BURKE's firm. BURKE responded, "Good." Alderman A asked how Alderman A

would be paid by BURKE for bringing in clients to BURKE's law firm. BURKE

advised Alderman A that if Alderman A received a percentage payment of BURKE's fee,

the payment would have to be made indirectly to Alderman A through a lawyer or

alternatively, Alderman A would be paid as a "marketing representative" on an hourly

basis.

         10. On or about December l2,20l6,A1derman A told BURKE, as a ruse and at
the direction of law enforcement, that Individual A-1 understood that, so long as BURKE

and Alderman A helped Individuai A-1 with necessary permits needed for the Post Offrce

project, and BURKE assisted with issues concerning Amtrak, Individual A-1 would

retain BURKE's law firm, Klafber & Burke. BURKE responded,"Okay,great." .


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       11. On or about December 22, 2016, BURKE met with Alderman A and
reviewed information BURKX had obtained from Individual A-3, an Amtrak employee,

concerning access to Amtrak property near the Post Office that was necessary for the

completion of redevelopment work on the Post Office project. BURKE advised

Alderman A that Individual A-3 could be "worked with," but that up until that point in

time, Individual A-3 had no reason to do any favors for the developer of the Post Offrce

project. BURKE noted BURKE had not been hired yet by Company A, and that
Company A had additional properties in the Chicago area. BURKE also communicated

his betief that Individual A-1 and Company A would hire BURKE's private law firm,

Klafber & Burke, to perform tax work only if there was something BURKE could do to

assist Individual A-1 and Company A, by explaining that BURKE believed that they

would otherwise only work with Jewish lawyers to the exclusion of everybody else.

       12. On or about J anaary 25, 2017 , BURKE advised Alderman A that BURKE
would not take any action benefitting Individual A-1 and Company A in connection with

the Post Office project unless Individual A-l retained BURKE's firm, Klafber & Burke,

and told Alderman A that "the cash register has not rung yet."

       13. On or about March g,20l7,Alderman A advised BURKII that the developer
of the Post Offrce project needed assistance with obtaining the "sign off' of the Water

Commissioner on an issue concerning the Post Offrce project, and that if BURKE and

Alderman A could assist with the Water Commissioner, "we should be able to get the tax

work and maybe get my consulting from you." BURKE said, "Good ," and.agreed to look

into the matter.
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       14. In or around March 2017, BURKE caused Individual A-4, a former Water
Commissioner, to contact the Water Commissioner for the purpose of resolving the water

service problem concerning the Post Office project. Based on the information provided

by Individtal.L-A,the Water Commissioner understood that there was pressure coming

from City HaIl to get water service established at the Post Office, and that BURKE was

involved in the matter. Thereafber, the Water Commissioner took steps to become

personally involved to resolve the water service problem.

       15. On or about March 21,2077,BURKE told Alderman A that Individual A-4
had talked to the Water Commissioner, and that while Company A could not get

everybhing requested fuom the Water Department, Company A would be "comfortable"

with the accommodations Company A would receive.

       16. On or about May 19, 2017, Alderman A advised BURKE that a
representative of Company A's real estate management company still had a problem that

needed to be resolved with the Water Department and with Amtrak concerning the Post

Office project. BURKE told Alderman A that BURKE had not heard about "getting

hired to do the tax work," so BURKE was not "motivated" to provide any assistance

concerning the Post Office project.

       L7. On or about May 26,2017, Alderman A told BURKE that Alderman A had
spoken to Individual A-1. BURKE asked Alderman A, "So, did we land the, uh, the

tuna?." Alderman A told BURKE that Alderman A had informed Individual A-1 that

BURKE and Alderman A were not motivated to provide assistance to the Post Office

project, and that Individual A-1 needed to "help Ed out." At the direction of law
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enforcement, Alderman A advised BURKE that Individual A-1 had agreed to provide

tax work in the future to Klafber & Burke. BURKE informed Alderman A that he

wanted to meet with Individuat A-1, and promised Alderman A there would be a "day of

accounting" for Alderman A if BURKE's firm was retained by Company A. BURKE

also agreed to provide assistance to the Post Office project in that BURKE and Alderman

A would follow up with the Water Department and BURKE confirmed that he would

follow up with his contacts at Amtrak.

       18. On or about June 19, 20L7, at approximately 2:08 p.m. (Session #1368),
BURKE used his cellular telephone, assigned telephone number (312) XXX-4006, to

speak to Individual A-1 about the Post Office project. Individual A-1 asked for

BURKE's assistance in resolving outstanding problems with Amtrak, and BURKE

asked Individual A-1 to send BURKE an email of the outstanding issues, as well as the

"names of the people that seem to be problems."

       19. On or about June 20,2017, Individual A-1 forwarded an email to BURKE's
personal email account from Individual A-4 detailing the outstanding problems with

Amtrak.

       20. On or about Jwre22,2017, BURKE spoke to Individuai A-3 for the purpose
of resolving Company A's outstanding problems with Amtrak.

       21. On or about June 23, 2017, BURKE told Indiyidual A-1 that BURKE had
talked to an executive at Amtrak and that there had been a lot of progress with the issues

identified by Individual A-1,, and instructed Individual A-1 to let BURKE know how

matters progressed.
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       22. On or about August 2,2017,Individual A-1told BURKE and Alderman A
that things were moving in the "right direction" with Amtrak. Individual A-1 thanked

BURKE for his assistance, and BURKE told Individual A-1 to keep BURKE informed

of the progress with Amtrak.

       23. On or about August 25, 2017, BURKE told Alderman A that he had not
heard from Company A, which BURKE expected would retain his law firm. Alderman

A told BURKE that things appeared to be going "really well" with the Post Office
project, and BURKI'replied, "Mlhen they get taken care of, you never hear from'em.

You only hear from'em when it doesn't work out."

      24. On or about October 6,2017, Alderman A advised BURKE that Company
A was seeking the City of Chicago's support for TIF funds relating to the Post Office

project. As of that date, BURKE's law firm had still not been retained by Company A,
and BURKE questioned why Alderman A would want to assist Individual A-1 with a

request for TIF funds.

      25. On or about October 77,2017,at Alderman A's request, Individual A-1 and
others met with BURKE and Alderman A at Alderman A's offrce in City Hall to discuss

the progress of the Post Office project. As of that date, Company A stilt had not

retained BURKE's law firm, Klafter & Burke. One of the members of Individual A-1's

group explained to BURKE why the Post Offrce project needed TIF funding. After

Individual A-1 and his group left the meeting, and BURKE and Alderman A were alone,

BURKE expressed anger that his law firm had not been hired by Company A, by telling

Alderman A that BURKE was not "fond of the way the/ve conducted themselves up
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until this point, and as far as I'm concerned, they can go fuck themselves." Alderman A

told BURKE that Alderman A had told Individual A-1 that Company A's request for TIF

funding would go before BURKE's committee, the Committee on Finance, for approval.

BURKE responded, "\Mell, good iuck getting it on the agenda."

       26. On or aboutJanuary 18, 2018, Alderrnan A asked BURKE if BURKE would
support Company A's request for a Class L designation, which BURKE stated had a

value of approximately $100 million to Company    A. BURKE confirmed that he decided
what went on the agenda of the Committee on Finance, and once again complained that

he had still not been hired by Individual A-1to perform tax work, but noted being hired

would "help." BURKE told Alderman A that he did not care about "these guys," and

would do as Alderman A wished with respect to the frnancing for the Post Offrce project.

       27. On or about February 26,2018,the Committee on Finance passed the Class
L incentive concerning the Post Offrce project.

       28. On or about February 28,2018, on BURKE's motion, the full City Council
unanimously passed the Class L incentive concerning the Post Office project.

       29. On or about August 7,2018,at approximately 9:28 a.m. (Session #62645),
BURKE used his cellular telephone, assigned telephone.number (312) XXX-4006, to

speak to Alderman A about the Post Office project. Alderman A advised BURKE that

Alderman A had received BURKE's voicemail message, in which BURKE confirmed

that a representative of Company A's real estate management company had contacted

BURKE's firm to discuss hiring Klafter & Burke. Alderman A then asked BURKE if


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he would support TIF funding for the Post Office project, and BURKE responded,

"Absolutely."

       30. On or about August 24,2018, a representative of Company Als real estate
management company was sent a contingent fee agreement that was signed by BURKE

on behalf of Klafter & Burke. The agreement provided, among other things, that an

affrliate of Company A would retain Klafter & Burke to perform real estate tax work with

respect to a specific commerciai property, and would pay Klafber & Burke a fee for its

work, based in part on any tax reduction obtained. Klafter & Burke's fee was to be no

less than $15,000 for 2018, $15,000 for 2019, and $15,000 for 2020.

       31. On or about September L7,2078, BURKE presided over a meeting of the
Committee on Finance, calied the Post Offrce TIF proposal, and asked Alderman A if

Alderman A had a motion on the TIF proposal. Thereafter, the Committee on Finance

voted to pass the proposal.

       g2. On or about September 20,2018,the City Councii met and voted to pass the
Post Office TIF proposal. BURKE made the motion to pass the Post Office TIF

proposal, and voted in favbr of the proposal. BURKE did not publicly disclose his

repeated efforts to obtain work for his private flrm, Klafter & Burke, nor did BURKE

disclose that his firm had entered into a contingent fee agreement with Company A's

affiliate several weeks prior to this vote.




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            Corrupt Solicitation and Attempted Extortion of Company B
                     in Connection with Fast Food Restaurant

      33. BURKE used his position as an Alderman to corruptly solicit and extort
legal business from Company B for BURKE's law firm, Klafter & Burke, in return for

BURKE's support for a building permit and a related driveway permit for a fast food

restaurant operated by Company B in BURKE's ward.

       34. On or about May 25,2017, Individual B-1, an executive of Company B,
contacted BURKE to obtain his official assistance as an Alderman with obtaining a

building permit for a fast food restaurant located in BURKE's ward. BURKE proposed

meeting with Individual B-2, who was also employed by Company B, to discuss this and

another matter relating to the restaurant operated by Company B in BURKE's ward.

      35. On or about June 8, 2017, BURKE directed a member of his Aldermanic
staff to contact someone at his law firm, Klafter & Burke, and find out who had previously

represented Company B with respect to prior tax assessment work concerning the fast

food restaurant in BURKE's ward.

      36. On or about June 11, 2017, BURKE spoke with a public official located
outside the State of Illinois who was familiar with Individual B-1, and advised the public

official that BURKE wanted to get legal business from Individual B-1. The public

official promised to assist BURKE by making sure Individual B=1 was aware of how

"important" BURKE was.

       37. On or about June 14, 2017, BURKE, together with ANDREWS, met with
Individual B-1 and Individual B-2 atthe restaurant in BURKE's ward for which they had

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sought a building permit. Immediately thereafber, BURKE took Individual B-1 and

Individual B-2 to lunch at a local country club where BURKE was a member, for the

purpose of soliciting tax work for his firm, Klafter & Burke, from Company B.

       38. On or about Jrne 27,2017, at approximately 2:23 p.m. (Session #L779),
BURKE used his celluiar telephone, assigned telephone number (312) XXX-4006, to

speak to Individual B-2. While speaking with Individual B-2, BURKE attempted to

obtain legal business for his law firm, Klafber & Burke, by specifically tyrng BURKE's

official assistance with permits to providing tax business for BURKE's law firm.

Individual B-2 assured BURKE that Company B's architect would reach out to BURKE

to discuss the permits and someone else would reach out to BURKE regarding the

retention of BURKE's firm.

      39. Company B received building permits for the restaurant from the City of
Chicago in or around Jwrc 2077 and September 2017. However, Company B did not

retain BURKE's law firm as BURKE had anticipated.

       40. On or about October 24,2017, at approximately 9:57 a.m. (Session #7441),
BURKE used his cellular telephone, assigned telephone number (312) XXX-4006, to

speak to ANDREWS about Company          B. Because Company B failed to provide tax
work to BURKE's law firm, BURKE and ANDREWS agreed that ANDREWS would

take action to interfere with the operation ofthe restaurant based on the ground that the

restaurant did not have a driveway permit.
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       41. On or about October 24, 2071, ANDREWS contacted an employee of
Company B, and asked Company B to shut down its remodeling work on the restaurant.

As a result of this request, remodeling of the restaurant was halted.

       42. On or about October 25,2017, at approximately 6:59 p.m. (Session #7537),
BURKE used his cellular telephone, assigned telephone number (312) XXX-4006, to

speak to ANDREWS about Company        B. Specifically, ANDREWS reported to BURKE
that the construction work had been halted at the restaurant. ANDREWS and

BURKE agreed during this call that ANDREWS would now play "hard ball" with

Company B.

       43. On or about October 26,2017,ANDREWS met with representatives of
Company B at BURKE's ward offrce. During the meeting, ANDREWS was informed

that Company B, led by Individual B-1, owned the restawant. Among other thingp,

ANDREWS advised the group that BURKE's offrce had not signed off on the plans

granting approval for the remodeling project, including a driveway permit.

       44. On or about November L4,2017, Company B applied to the City of Chicago's
Department of T?ansportation for a driveway permit for three pre-existing driveways

adjacent to the restaurant. Thereafter, BURKE caused members of his staff, including

ANDREWS, to obstruct the approval of the application.

       45. On or about December l2,20l7,Individual B-1 and Individual B-2 met with
BURKE for the purpose of getting BURKE to agree to the continuation of the

remodeiing project. During the meeting, BURKE asked why he had not received tax

business from Company    B. Individua-l B-1 informed BURKE that Individual B-1 had
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talked to a representative of Company B and told that individual to get the process

started to hire BURKE's firm. BURKE said he would try and get the remodeling

project started again. During the same meeting, BURKE encouraged Individual B-1

and Individual B-2 to get involved with other politicians in Chicago, and BURKE asked

Individual B-1 and Individual B-2 to attend a political fundraiser for another local

politician that BURKE was hosting at his home.

       46. On or about December 13,2017, at approximately 10:03 a.m., at BURKE's
direction, BURKE's assistant. sent an email from BURKE's personal email account to a

representative of Company B, for the purpose of arranging for tax work to be provided

to BURKE's private law firm, Klafber & Burke.

       47. On or about December 13,2017, ANDREWS contacted an architect for
Company B and advised that outstanding issues with the driveway permit had been

cleared up.

       48. On or about December 19,2017, at approximately 1:17 p.m., at BURKE's
direction, BURKE's assistant sent an email from BURKE's personal email account to a

representative of Company B, stating that BURKE should obtain the tax work for all

Illinois locations operated by Company B.

       49. On or about December 19,2017, Company B's application for a driveway
permit was approved by the Department of Transportation, and was issued several

weeks later.




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                                 Bribery and Misconduct
                                  Involving Company C

       b0. BURKI used his position as an Alderman to cormptly obtain legal business
from CHARLES CUI for BURKE's law firm, Klafter & Burke, namely, tax work, in

return for BURKE's official assistance with CHARLES CUI's efforts to obtain a permit

for a pole sign located at the 4901 Property.

       51. On or about April 17,2017,CUI caused to be submitted to the Department
of Buildings an application for a permit for an existing poie sign located at the 4901

Property. The application proposed that the sign wouid be used to advertise Company
D's business at that location.

       52. On or about May 18, 20\7,the application for the permit was denied by the
Department of Planning and Development.

       53     On or about hly 21,2017, cul, on behalf of company c, entered into an

agreement with Company D that provided that, if Company C was unable to obtain the

necessary approvals to allow Company D to use the pole sign at the 4901 Property, then

Company C would reduce Company D's rent for the 4901 Property according to an

agreed-upon formula. CUI estimated this rent reduction to have a total cost to

Company C of $750,000.

       54. On or about August 23,2017,at approximately 9:58 a.m., CUI sent an email
to BURKE, asking for his assistance with respect to obtaining the permit, which stated,

"Good Morning, Mr. Burke. I had the chance to meet you with [Individual C-1] couple

of months ago. Hope you still remember me. I have a legal matter that may need your


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representation, if your schedule allows. I own a property located at 4907 W. Irving Park

Road, which used to be a Bank of America building. My tenant fCompany D] applied to

reuse the existing pole sign in front of the building (see attached photo), but was denied

by zoning, stating the pole sign was abandoned for several years, and now is iIlegal. Can

you iook into the m atter,and advise how to proceed? fCompany D] really needs it,

otherwise they will either cancel the lease, or ask fqr significant rent reduction. It is

such a beautiful sign, it is becoming a landmark for the community and it costs lots of

money to remove it."

       55. On or about August 24,2017,at approximately 11:59 a.m., CUI forwarded
to Individual C-1the email he wrote to BURKE on or about August 23,2017, and further

wrote, "firi. I threw your name there. Maybe he thinks there is conflict of interest,

because of his position. I'll ask him to represent me for property tax appeal, which will

be a big bite, comparing with this."

       56. On or about August 24, 2077 , atapproximately 12:03 p.m., CUI sent an email
to Individtal C-Z,who had represented CUI in property tax appeals for the 4901
Property. In that email, CUI wrote ,"CanI ask you for a favor? Can I have Edward
Burke handle 4901 W. Irving Park property tax appeal for me, at least for this year? I

have TIF deal going with the City, and he is the Chairman of Finance Committee. He

handled [sic] his tax appeal business card to me, and I need his favor for my tif money.

In addition, I need his help fgr my zoning etc for my project. He is a powerful broker in

City Hall, and I need him now. I'iI transfer the case back to you after this year."


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       57. On or about August24,20l7,at approximately 12:17 p.m., CUI sent an email
to BURKE ,that stated, "Dealr Mr. Burke, I currently have this property 4901,4925,4939

W. Irving Park Road under redevelopment. I may need your representation for tax

appeal. The property was totally vacant titl July this year. . . . . Please let me know if

you have time to handle this matter for me. Please let me know when we can schedule

a brief phone   call. Thank you!"
       58. On or about August 24, 2017, at approximately 1:45 p.m., Individual C-1
called BURKE's offrce at City Hall and spoke with BURKE. Duringthe call, Individual

C-1 advised BURKE that CUI wished to hire BURKE to perform tax work, and noted

"I guess he has some need for you now." BURKE said, "Well, I'll get together with him
and see if we can do something to help him."

       59. On or about August 25,2017, at approximately 9:47 p.m., BURKE sent an
email to CUI, that stated, "Charles, I instructed my team to reach out to you. If you do

not hear from them by Ttresday, let me know personally! Thank you for expressing

confidence in our firm, Ed."

       69. On or about August 30,2017, at approximately \0:42 a.m., an attorney
associated with Klafber & Burke sent an email to CUI to initiate the process of

representing CUI.

       61. On or about August 30,2017, at approximately 11:25 a.m., CUI responded
to the email fuom the attorney associated with Klafter & Burke, and provided information

related to the initiation of a tax appeal for several properties, including the 4901 Property.



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       62. On or about August 30,20L7, at approximately 4:27 p.m. (Session #5043),
BURKE had a telephone call with an assistant in his office at City Hall. During the call,

BURKE said, "Can you call [Commissioner C]? Ask her to take a look atthatsituation

where this . . . gUy called about [Company D] on the pole that, ah . . . see if she'd, um,

review it and see if there's any way that they can, ah, help us."

       63. On or about August 3l,20l7,BURKE personally spoke with Commissioner
C, and asked Commissioner C to figure out a way to try to help CUI get the permit he

wanted for the 4901 Property.

        64. On or about September 5,2017, CUI signed a contingent fee agreement
with Klafter & Burke that provided, among other things, CUI would retain Klafter &

Burke to perform real estate tax work and pay Klafter & Burke a fee for its work, based

on a speeified percentage of any tax reduction obtained for CUI.

       65. On or about September 14,2017,at approximately 10:43 a.m., BURKE had
a telephone eall with an assistant in his offrce at City   Hall. During that call, the assistant
advised BURKE that Commissioner C had not been able to figure out a way to issue the

permit and had suggested contacting Administrator C.

       66. In or around September 2017, BURKE personally spoke with
Administrator C, and asked Administrator C to review the denial of the permit for the

4901 Property.

       67. On or about November 6, 2077, the Department of Planning and
Development issued a final denial of the permit.

       68. In or around 2018, Klafber & Burke performed real estate tax work for CUI.
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                           Attempted Extortion of Museum 1

         69. BURKE abused his position as an Alderman by threatening to take official
action, in his capacity as Chairman of the Committee on Finance, to derail a proposed

admission fee increase sought by Museum 1, due to the failure of Museum 1to respond to

his inquiry about an internship at Museum 1 for Individual E-1, who was the child of a

personal acquaintance of BURKE. After BURKE's threat, Individual E-l was

provided with the opportunity to apply for a full-time job at Museum 1, an offer which

BURKE conveyed to Individual E-l's mother.

         70. In or around 20L7, Museum 1 sought approval from the Chicago Park
District to increase its basic admission fees. The Park District Board scheduled a

hearing on or about September 13,2017, to consider Museum 1's request for an increase

in its basic admission fees.

         7L. On or about September 8, 2017, BURKE spoke with Individual E-2, a
museum employee, who had called to speak with BURKE before the scheduled Park

District Board meeting about the pending admission fee increase sought by Museum 1.

During the call, BURKE threatened to contact the President of the Park District Board

and object to Museum 1's requested admission fee increase because Museum t had failed

to respond to BURKE's prior effort to obtain an internship for Individual E-1 at Museum

1.


         72. After BURKE's threat to oppose Museum 1's proposed admission fee
increase, on or about September 11,2017, BURKE received an e-mail from Individual E-



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3, an executive at Museum 1, in which Museum 1 offered that Individual E-1 could apply

for a firll-time job at Museum 1.

       73. On or about September 12, 2017, at approximately 10:16 a.m. (Session
#5594), BURKE used his cellular telephone, assigned telephone number (312) XXX-4006,

to speak to Individual E-1's mother, and told her about the potential fuIl-time job for

Individual E-1 at Museum 1, and asked if Individual E-1 was interested in the new

position.

       74. On or about September 12,2017, at approximately 10:43 a.m., at BURKE's
direction, his assistant sent an email to Individual E-3 and another employee of Museum

1, asking for additional details on how Individual E-l could apply for the position and

what the title of the position was.

       75. On or about September ,12,2017,at approximately 11:20 a.m., in response
to the email from BURKE's assistant requesting details on how Individual E-l could

apply for the position, an employee of Museum 1 sent an emaii to Individual E-1, for the

purpose ofprovidingdetails concerningthe job opportunityandforthepurpose of setting

up an informational interview later that week.

       76. On or about September 13,2017, the Park District Board approved an
increase in the basic admission fee for entrance to Museum 1.

       77. On or about September 79,Il\T,Individual E-1 advised an employee of
Museum 1 that she was declining consideration for the position.




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                                       Coneealment

       78. In order to conceal his corrupt activity, BURKE did not disclose his
participation in corrupt activity as required under the City of Chicago's ethics ordinance.

       79. In order to further conceal his corrupt activity, BURKE conceaied from
other public offrcials and employees whom he sought to influence and persuade to take

official action that he had a financiai interest in matters BURKE raised with such officials

and employees, and further concealed his violation of the City of Chicago's ethies

ordinance prohibiting such conduct.

       80. In order to further conceal his cornrpt activity, BURKE did not disclose he
had a financial interest in matters that he considered and voted upon within the

Committee on Finance and the City Council, and further concealed his violation of the

City of Chicago's ethics q-rdinance prohibiting such conduct.

       81. In order to further conceal his corrupt activity, BURKE used his personal
email account, instead of an email account operated by the City of Chicago, to facilitate,

promote, and carry on his illegal activity.

       82. In order to further conceal his cormpt activity, BURKE planned to make
payments to Alderman A through an intermediary in order to conceal BURKE's

payments to Alderman A on account of legal work generated by Alderman A for

BURKE's private law firm, Klafber & Burke.

       83. Defendant EDWARD M. BURKE, and others, misrepresented, conceaied,
and hid, and caused to be misrepresented, concealed, and hidden, the purposes of, and the

acts done in furtherance of, the activity described above.
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             IV. THE PATTERN OF RACKETEERING ACTIVITY
       84. The pattern of racketeering activity, as defined in Title 18, United States
Code, Sections 1961(1) and 1961(5), consisted of the following acts:

                                    Racketeering Act 1
                                   (Post Office projeet)

       Defendant EDWARD M. BURKE committed the following acts, any one of which

alone constitutes the commission of Racketeering Act 1.

              a.     Beginning in or around August 2016, and continuing to on or about

January 18, 2018, at Chicago, in the Northern District of Illinois, Eastern Division, and

elsewhere, EDWARD M. BURKE, defendant herein, committed an act involving

bribery, that is, attempted to commit bribery, in that EDWARD M. BURKE attempted

to solicit and agreed to accept property and personal advantage, namely, fees arising from

the retention of his law firm, Klafber & Burke, pursuant to an understanding that

EDWARD M. BURKE and Alderman A would improperly influence the performanee of

an actrelated to their employment and function as Aldermen and the employment and

function of other empioyees of the City of Chicago, namely, acts taken by BURKE,

Alderman A, and other employees of the City of Chicago concerning approvals foom

Amtrak, approvals from the City of Chicago Water Department, a Class L designation,

and tax increment flnancing in eonnection with the Post Offrce project, in violation of 72,0

ILCS 5/33-1(e) and.720ILCS 518-4.

              b.     Beginning in or around August 2016, and continuing to on or about

January 18, 2018, at Chicago, in the Northern District of Illinois, Eastern Division, and

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elsewhere, EDWARD M. BURKE, defendant herein, committed an act involving

bribery, that is, EDWARD M. BURKE solicited for the perforrnance of an act, namely

acts taken by BURKE concerning approvals from Amtrak, approvals from the City of

Chicago Water Department, a Class L designation, and tax increment financing

concerning the Post Office project, a fee and reward which he knew was not authorized

by law, namely, fees arising from the retention of his law frrm, Klafter & Burke, in

violation of 720ILCS 5/33-3(aX ).

                     On or about June 19, 2017, aL approximately 2:08 p.m. (Session

#1368), at Chicago, in the Norfhern District of Iliinois, Eastern Division, and elsewhere,

EDWARD M. BURKE, defendant herein, used a facility in interstate commerce, namely,

a cellular telephone assigned telephone number (312) XXX-4006, with intent to promote,

manage, establish, carry on, and facilitate the promotion, management, establishment

and carrying on of an unlawful activity, namely, a violation of 720 ILCS 5/33-1(e)

(Bribery), 720 ILCS 5/33-3(aX ) (Offrcial Misconduct), and 720 ILCS 51294-2

(Commercial Bribe Receiving), and thereafber, the defendant did perform and attempt to

perform anact to carry on and facilitate the promotion and carrSring on of said unlawful

activity, in violation of Title 18, United States.Code, Sections 1952(a)(3) and2.

              d.     On or about June 20, 2017; at Chicago, in the Norbhern District of

Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

caused the use of a facility in interstate commerce, namely, an email account and

associated communication network operated by the service provider AOL, with intent to

promote, manage, establish, carry on, and facilitate the promotion, management,
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establishment and carrying on of an unlawfui activity, namely, a violation of 720 ILCS

5/33-1(e) (Bribery), 720 ILCS 5/33-3(a)(a) (Official Misconduct), and 720 ILCS 5129L-2

(Commercial Bribe Receiving), and thereafr,er, the defendant did perform and attempt to

perform an act to carry on and facilitate the promotion and carrying on of said unlawful

activity, in violation of fitle 18, United States Code, Sections 1952(aX3) and?.

                                    Raeketeering Act 2
                                   (Post Offiee projeet)

       Defendant EDWARD M. BURKE committed the following acts, any one of which

alone constitutes the commission of Racketeering Act 2.

              a.     On or about August 7,2018, at approximately 9:28 a.m. (Session

#62645),at Chicago, in the Northern District of lllinois, Eastern Division, and elsewhere,

EDWARD M. BURKE, defendant herein, used a facility in interstate commerce, namely,

a celluiar telephone assigned telephone number (312) XXX-4006, with intent to promote,

manage, estabiish, carry on, and facilitate the promotion, management, establishment

and carrying on of an unlawful activity, namely, a violation of 720ILCS 5/33-3(aX )

(Offrcial Misconduct), and 720 ILCS 5l2gL-2 (Commercial Bribe Receiving), and

thereafter, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and carrying on'of said unlawful activity, in violation of Title 18,

United States Code, Section 1952(a)(3).

              b.     On or about August 24,2018,at Chicago, in the Northern District of

I1linois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

committed an act involving bribery, that is, EDWARD M. BURKE solicited for the

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performance of an act, namely acts taken by BURKE concerning tax increment financing

for the Post Office project, a fee and reward which he knew was not authorized by law,

namely, fees arising from the retention of his law firm, Klafter & Burke, in violation of

720ILCS 5/33-3(aXa).

                                   Racketeering Act 3
                                (Restaurant Remodeling)

       Defendant EDWARD M. BURKE committed the following acts, any one of which

alone constitutes the commission of Racketeering Act 3.

              a.     Beginning no later than in or around 2017 and continuing through in

or around 2018, at Chicago, in the Northern District of Illinois, Eastern Division, and

elsewhere, EDWARD M. BURKE, defendant herein, together with - PETER J.

ANDREWS, did knowingly attempt to commit extortion, which extorbion would

obstruct, delay and affect commerce, in that defendant attempted to obtain property,

namely, fees arising from the retention of his law firm, Klafter & Burke, to be paid by

Company B and its affiliate,'u\rith the consent of Company B and its affiliate, induced by

the wrongful use of actual and threatened fear of economic harm, and under color of

official right, in violation of Title 18, United States Code, Sections 1951(a) and,2.

              b.     Beginning no later than in or around?}l7 and continuing through in

or around 2078, at Chicago, in the Northern District of Illinois, Eastern Division, and

elsewhere, EDWARD M. BURKE, defendant herein, did conspire with PETER J.

ANDREWS to obstruct, delay, and affect commerce by extortion, that is, the extortion

of fees arising from the retention of his law frrm, Klafter & Burke, to be paid by Company


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B and its affiliate, with the consent of Company B and its affiiiate, induced by the

wrongful use of actual and threatened fear of economic harm, and under color of official

right, in violation of Tit1e 18, United States Code, Section 1951(a).

              c.     In or around June 2017, at Chicago, h the Northern District of
Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

committed an act involving bribery, that is, attempted to commit bribery, in that

EDWARD M. BURKE attempted.to solicit and agreed to accept property and personal

advantage, namely, fees arising foom the retention of his law firm, Klafter & Burke,

pursuant to an understanding that EDWARD M. BURKE would improperly influence

the performance of an act related to his emplo;rment and function as Alderman and the

employment and function of other employees of the City of Chicago, namely, acts taken

by BURKE and other employees of the City of Chicago concerning the approval and

expediting of one or more building permits, in violation of 720ILCS 5/33-1(e) and 720

ILCS 518-4.

              d.     In or around June 2017, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

committed an actinvolving bribery, that is, EDWARD M. BURKE solicited for the

performance of an act, namely the approval and expediting of one or more building

permits, a fee and reward which he knew was not authorized by law, nameiy, fees arising

from the retention of his law firm, Klafter & Burke, in violation of 720ILCS 5/33-3(aXa).

              e.     On or about Octoher 24,2017,at approximately 9:57 a.m. (Session

#7441),at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,
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EDWARD M. BURKE, defendant herein, used a facility in interstate commerce, namely,

a cellular telephone assigned telephone number (312) XXX-4006, with intent to promote,

manage, establish, carry on, and facilitate the. promotion, management, establishment

and carrying on of an unlawfr-rl activity, namely, a violation of 18 U.S.C. $ 1951(a)

(Extortion),720ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-3(aXa) (Official Misconduct),

andT20ILCS 5129A-Z (Commercial Bribe Receiving), and thereaft,er, the defendant did

perform and attempt to perform an act to carry on and faciiitate the promotion and

carrying on of said uniawful activity, in violation of Title 18, United States Code, Sections

1952(aX3) and2.

              f.     On or about October 25,2017, at approximately 6:59 p.m. (Session

#7597), at Chicago, in the Norfhern District of Illinois, Eastern Division, and elsewhere,

EDWARD M. BURKE, defendant herein, used a facility in interstate commerce, namely,

a cellular telephone assigned telephone number (312) XXX-4006, with intent to promote,

manage, establish, carry on, and facilitate the promotion, management, establishment

and carrying on of an unlawful activity, namely, a violation of 18 U.S.C. $ 1951(a)

(Extortion),720ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-3(aX ) (Official Misconduct),

and,720ILCS 5129A-2 (Commercial Bribe Receiving), and thereaft'er, the defendant did

perform and attempt to perform an act to caruy on and facilitate the promotion and

carrying on of said unlawful activity, in violation of Title 18, United States Code, Sections

1952(aX3) and2.




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              g.     On or about December 13,2017, at Chicago, in the Northern District

of Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

caused the use of a facility in interstate commerce, namely, an email account and

associated communication network operated by the service provider AOL, with intent to

promote, manage, establish, caffy on, and facilitate the promotion, managernent,

establishment and carrying on of an unlawful activity, namely, a violation of 18 U.S.C. $

1951(a) (Extorbion), 720 ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-3(aXa) (Official

Misconduct), and 720 ILCS 5129A-2 (Commercial Bribe Receiving), and thereafLer, the

defendant did perform and attempt to perform an act to carry on and facilitate the

promotion and carrying on of said unlawful activity, in violation of Title 18, United States

Code, Sections 1952(aXB) and2.

                                   Racketeering Act 4
                                   (Pole Sign Permit)

       Defendant EDWARD M. BURKE committed the following acts, any one of which

alone constitutes the commission of Racketeering Act 4.

              a.     On or about August 30,2017, at approximately L1:25 a.m., at Chicago,

in the Northern District of Illinois, Eastern Division, and elsewhere, EDWARD M.

BURKE, defendant herein, caused the use of a facility in interstate commerce, namely,

an email account and associated communication network operated by service provider

Yahoo!, with intent to promote, manage, establish, earryon, and faciiitate the promotion,

management, establishment and carrying on of an unlawful activity, namely, a violation

of 720 ILCS 5/33-1 (Bribery), 720 ILCS 5/33-3(aX4) (Official Misconduct), 720 ILCS

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5129L-t (Commercial Bribery), and 720 ILCS \|z\A-z(Commercial Bribe Receiving), and

thereafter, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and carrying on of said unlawful activity, in violation of Title 18,

United States Code, Sections 1952(a)(3) and2.

              b.     On or about August g0,2017, at approximately 4:27 p.m. (Session

#5043), at Chicago, in the Northbrn District of Illinois, Eastern Division, and elsewhere,

EDWARD M. BURKE, defendant herein, used a facility in interstate commerce, namely,

a cellular telephone assigned telephone number (312) XXX-4006, with intent to promote,

manage, establish, carry on, and facilitate the promotion, management, establishment

and carrying on of an unlawful aetivity, namely, a violation of 720ILCS 5133-t (Bribery),

720 ILCS 5/33-3(a) ( ) (Offi cial Misconduct), 7 20 IL CS 5 129 A-L (Commercial Bribery), and

?20 ILCS 5129A-2 (Commercial Bribe Receiving), and thereafter, the defendant did

perform and attempt to perform an act to carry on and facilitate the promotion and

carrying on of said unlawful activity, in violation of Title 18, United States Code, Sections

1952(aX3) and2.

              c.     On or about September 5,2017,at Chicago, in the Northern District

of Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

committed an act involving bribery, that is EDWARD M. BURKE agreed to accept

property, namely, fees arising from the retention of his law firm, Klafter & Burke,

knowing that the property was promised and tendered with the intent to cause

EDWARD M. BURKE to influence the performance of an act related to his emplo;rment

and function as Alderman and the employment and function of other employees of the
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City of Chicago, namely, acts taken by BURKE and other employees of the City of

Chicago concerning the issuance of a permit for a pole sign, in violation of 720ILCS 5/33-

1(d).

                                    Raeketeering Act 5
                                     (Museum l Job)

        Defendant EDWARD M. BURKE committed the following acts, any one of which

alone constitutes the commission of Racketeering Act 5.

              a.      In or around September 2017, at Chicago, in the Northern District

of Illinois, Eastern Division, and elsewhere, EDWARD M. BURKE, defendant herein,

did attempt to commit extortion, which extortion would obstruct, delay, and affect

commerce, in that the defendant attempted to obtain property, namely, money and other

compensation to be provided by Museum L to Individual E-1, with the consent of Museum

1, induced by the wrongful use of actual and threatened fear of economic harm, and under


color of official right, in violation of Title 18, United States Code, Section 1951(a).

              b.      On or about September 12, 20L7, at approximately 10:16 a.m.

(Session #5594), at Chieago, in the Northern District of Illinois, Eastern Division, and

elsewhere, EDWARD M. BURKE, defendant herein, used a facility in interstate

commerce, namely, a cellular telephone assigned telephone number (312) XXX-4006, with

intent to promote, manage, establish, carry on, and facilitate the promotion, management,

estabiishment and carrying on of an unlawful activity, namely, a violation of 18 U.S.C. $

1951(a) (Extortion), and thereafber, the defendant did perform and attempt to perform




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arr act to carry on and facilitate the promotion and earrying on of said unlawful aetivity,

in violation of Title 18, United States Code, Seetions 1952(aXB) andl.

       AIt in violation of Title 18, United States Code, Seetion 1962(c).




                                             38
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                                      COUNT TWO

       The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       1.     Paragraphs 1(a)-(i) of Count One of this superseding indictment are hereby

realleged and incorporated here.

       2.     Beginning in or aroun d20\7,and continuirrg to on or about January 18, 2018,

at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, as an agent of the City of Chicago, corruptly solicited and demanded

things of value, namely, fees arising from the retention of his law firm, Klafter & Burke,

intending to be influenced and rewarded in connection with a business, transaction, and

series of transactions of the City of Chicago involving a thing of value of $5,000 or more,

namely, approvals from the City of Chicago Water Department, a Class L designation,

and tax increment financing in connection with the Post Office project;

       In violation of Title 18, United States Code, Sections 666(a)(1)(B) and 2.




                                            39
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                                    COUNT THREE

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about June 19, 2017, atapproximately 2:08 p.m. (Session #1368), at Chicago,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, used a facitity in interstate commerce, namely, a cellular telephone

assigned telephone number (312) XXX-4006, with intent to promote, manage, establish,

carryon, and facilitate the promotion, management, establishment and garrylng on of an

unlawfirl activity, namely, a violation of 720ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-

3(aX ) (Official Misconduct), and 720 ILCS 5l2gL-2 (Commercial Bribe Receiving), and

thereafber, the defendant did perform and attempt to perfonn an act to carry on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, United States Code, Sections 1952(a)(3) and,2.




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                                     COUNT FOUR

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about June 20, 2077, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, caused the use of a facility in interstate commerce, namely, an email

account and associated communication network operated by the service provider AOL,

with intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment and carrying on of an unlawful activity, namely, a violation

of 720ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-3(aX ) (Offlcial Misconduct), and 720 ILCS

llzgA-z(Commercial Bribe Receiving), and thereaffer,the defendant did perform and

attempt to perform an actto carry on and facilitate the promotion and carrying on of said

unlawfirl activity;

       In violation of Title 18, United States Code, Sections 1952(a)(3) and 2.




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                                     COUNT FIVE

       The SPECIAL DECEMBER 201? GRAND JURY furbher charges:

       Beginning no later than in or around 20L7 and, continuing through in or around

2018, at Chieago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                              EDWARD M. BURKE, and
                               PETER J. ANDREWS,

defendants herein, did knowingly attempt to commit extortion, which extortion wouid

obstruct, delay, and affect commerce, in that the defendants attempted to obtain

properby, namely, fees arising from the retention of BURKE's law firm, Klafter & Burke,

to be paid by Company B and its affiiiate, with the consent of Company B and its afflliate,

induced by the wrongful use of actual and threatened fear of economic harm, and under

color of official right;

       In violation of Title 18, United States Code, Sections 1951(a) and?.




                                            42
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                                       COUNT SIX

        The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

        Begin4ing no later than in or around i}W ana continuing through in or around

2018, at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                EDWARD M. BURKE, and
                                 PETER J. ANDREWS,

defendants herein, did conspire to obstruet, delay, and affect commerce by extortion, that

is, the extortion of fees arising from the retention of BURKE's law firm, Klafter & Burke,

to be paid by Company B and its affrliate, with the consent of Company B and its ffiliate,

induced by the wrongfirl use of actual and threatened fear of economic harm, and under

color of official right;

J       In violation of Title 18, United States Code, Section 1951(a).




                                             43
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                                   COUNT SEVEN

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about Oetober 24, 20L7, at approximately 9:57 a.m. (Session #IMl), at

Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                              EDWARD M. BURKE, and
                               PETER J. ANDREWS,

defendants herein, used a facility in interstate commerce, namely, a cellular telephone

assigned telephone number (312) XXX-4006, with intent to promote, manage, establish,

carcy on, and facilitate the promotion, management, establishment and carrying on of an

unlawful activity, namely, a violation of 18 U.S.C. $ 1951(a) (Extortion),720ILCS 5/33-

1(e) (Brib ery), 720 ILCS 5/33-3(aX ) (Offrcial Misconduct), and 720 ILCS 5129A-2

(Commercial Bribe Receiving), and thereafr,er, the defendants did perform and attempt

to perform anactto carry on and facilitate the promotion and carrying on of said unlawful

activity;

       In violation of Title 18, United States Code, Sections 1952(aXB) and.2.




                                           44
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                                    COUNT EIGHT

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about October 25, 2017, at approximately 6:59 p.m. (Session #7537), at

Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                              EDWARD M. BURKE, and
                               PETER J. ANDREWS,

defendants herein, used a facility in interstate cornmerce, namely, a cellular telephone

assigned telephone number (312) XXX-4006, with intent to promote, manage, establish,

carry on, and facilitate the promotion, management, establishment and carrying on of an

unlawful activity, namely, a violation of 18 U.S.C. $ 1951(a) (Extortion),720ILCS 5/33-

1(e) (Brib ery), 720 ILCS 5/33-3(a)(a) (Offrcial Misconduct), and ?20 ILCS 5l2gA-2

(Commercial Bribe Receiving), and there aft,er,the defendants did perform and attempt

to perform anactto carry on and facilitate the promotion and carrying on of said unlawful

activity;

       In violation of Tit1e 1,8, United States Code, Sections 1952(aXB) and2.




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                                     COUNT NINE

      The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about December 13,2017, at Chicago, in the Northern District of lllinois,

Eastern Division, and elsewhere,
                                                 t


                                 EDWARD M. BURKE,

defendant herein, caused the use of a facility in interstate commerce, namely, an email

account and associated communication network operated by the service provider AOL,

with intent to promote, manage, establish, carrlr on, and facilitate the promotion,
management, establishment and carqring on of an unlawful activity, namely, a violation

of 18 U.S.C. $ 1951(a) (Extortion),720ILCS 5/33-1(e) (Bribery), 720 ILCS 5/33-3(aX )

(Offrcial Misconduct), and 720 ILCS 5129A-2 (Commercial Bribe Receiving), and

thereafber, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, united states code, sections 1952(aX3) and2.




                                            46
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                                      COUNT TEN

       The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       1.     Paragraphs 1(a), 1(b), 1(g), 1(h), 1(m), 1(n), and 34-49 of Count One of this

superseding indictment are incorporated here.

       2.     Prior to on or about November 29, 20L8, the tr'ederal Bureau of
Investigation had initiated an investigation of BURKE and ANDREWS concerning

potential violations of federal crjminallaw.

       3.     The scope and nature of BURKE's and ANDREWS's interactions and

contacts with Individual B-1 and Individual B-2 were material to the investigation.

       4.     On or about November 29,2018, at Chicago, in the Northern District of

Iliinois, Eastern Division,

                                 PETER J. ANDREWS,

defendant herein, did knowingly and willfuily make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

Federal Bureau of Investigation, an agency within the executive branch of the

government of the United States, when he stated the following:




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      i.     ANDREWS denied everhearingthe name of Individual 8-L;

      ii.    ANDREWS denied ever hearing the name of Individu alB-Zi

      iii.   When asked whether he thought BURKE had ever met Individual B-1 and

Individual B-2, ANDREWS said, "I don't know. I don't }crow."; and

      iv.    When asked whether he remembered dealing with Individual B-1 and

Individuat B-2, ANDREWS replied, "They may have come in to our offree or something.



      In violation of fitle 18, United States Code, Section 1001(aX2).




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                                   COUNT ELEVEN

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       1.     Paragraphs 1(a)-1(h), 1(o)-1(s), and 51-68 of Count One of this superseding

indictment are hereby reaileged and incorporated here.

       2.     Between in or around August 2017,and continuing until in or around 2018,

at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, as an agent ofthe City ofChicago, corruptly accepted and agreed to

accept things of value, namely, fees arising from the retention of his law firm, Klafter &

Burke, intending to be influenced and rewarded in connection with a business,

transaction, and series of transactions of the City of Chicago involving a thing of value of

$5,000 or more, namely, a permit concerning the 4901 Property;

       In violation of Title 18, United States Code, Seetion 666(aX1XB).




                                            49
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                                 COUNT TWELVE

       The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       1.    Paragraphs 1(a)-1(h), 1(o)-1(s), and 51-68 of Count One of this superseding

indictment are hereby realleged and incorporated here.

      2.     At times material to Count TWelve of this superseding indictment:

                        TItr' Funding for the 4901 Property

             a.    On or about February 10, 2016, an ordinance was submitted to the

City Council seeking approval of a redevelopment agreement between the City of
Chicago and Company C that provided for $2,000,000 in TIF funding for the

redeveiopment of the 4901 Property (the "Ordinance"). The Ordinance was referred to

the Committee on Finance.

             b.    On or about March lL, 2076, the Committee on Finance, with

BURKE presiding, recommended that the Ordinance pass.

             c.    On or about March 76, 2016, on the motion of BURKE, the City

Council passed the Ordinance. BURKE voted in favor of the Ordinance.

             d.    On or aboutJune 28,2016,the City of Chicago and Company C sigaed

a redevelopment agreement for the 4901 Property, which gave Company C access to

$2,000,000 in TIF funds for the redevelopment of the 4901 Property. These TIF funds

were pa;rable only after the conditions provided in the redevelopment agreement were

met, and no TIF funds had been disbursed on or before September 5,2017.




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          3.     Between in or around August 2017 and continuing until in or around 2018,

          Northern Distriet of Illinois, Eastern Division, and elsewhere,

                                        CHARLES CUI,

    defendant herein, cormptly offered and agreed to give things of value, ngmely, fees

    arising from the retention of Klafter & Burke, intending to influence and reward

    BURKE, an agent of the City of Chicago, in eonnection with a business, transaetion, and

.   series oftransactions of the City of Chicago involving a thing of value of $5,000 or more,

    namely, a permit and tax increment finaneing concerning the 4901 Property;

          In violation of Title 18, United States Code, Seetion 666(a)(2).




                                                51
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                                  COUNT THIRTEEN

       The SPECIAL DECEMBER 2017 GRAND JURY further charges:

       On or about August 24, 2017, at approximately 12:03 p.m., at Chicago, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                    CHARLES CUI,

defendant herein, caused the use of a facility in interstate commerce, namely, an email

account and associated communication network operated by the service provider Yahoo!,

with intent to promote, manage, establish, carr;r on, and facilitate the promotion,
management, establishment and carrying on of an unlawftrl activity, namely, a violation

of 720 ILCS 5/33-1 (Bribery), 720 ILCS 5/33-3(aX ) (Officiat Misconduct),720 ILCS

llzgL-L(Commercial Bribery), and 720 ILCS llzgA-L(Commercial Bribe Receiving), and

thereaf[er, the defendant did perform and attempt to perform an act to caffy on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, United States Code, Section 1952(a)(3).




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                                 COUNT TOURTEEN

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about August 24,20L7, at approximately 12:17 p.m., at Chicago, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                    CHARLES CUI,

defendant herein, caused the use of a facility in interstate commerce, namely, an email

account and associated communication network operated by the service provider Yahoo!,

with intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment and carrying on of an uniawful activity, namely, a violation

of 720 ILCS 5/33-1 (Bribery), 720 ILCS 5/33-3(a)(4) (Official Misconduct),720 ILCS

StZgA-l (Commercial Bribery), and 720 ILCS illzgA-z(Commercial Bribe Receiving), and

thereaft,er, the defendant did perform and attempt to perform an act to carry on and

facilitate the promotion and eai:ying on of saidunlawfirl activity;

       In violation of Title 18, United States Code, Section 1952(aX3)'




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                                    COUNT FIFTEEN

       The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about August 30,2017, at approximately ll:25 a.m., at Chicago, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                               EDWARD M. BURKE, and
                                  CHARLES CUI,
                                .
defendants herein, used and caused the use of a facility in interstate commerce, namely,

an email account and associated communication network operated by service provider

Yahoo!, with intent to promote, manage, establish, carry on, and facilitate the promotion,

management, establishment and canrying on of an unlawfirl activity, namely, a violation

of 720 ILCS 5/33-1 (Bribery), 720 ILCS 5/33-3(a)( ) (Offrcial Misconduct),720 ILCS
                      Bribery), and 720ILCS 5129A-2 (Commercial Bribe Receiving), and
'lzgA-L(Commercial
thereafber, the defendants did perform and attempt to perform an act Lo caruy on and

facilitate the promotion and earrying on of said unlawful activity;

       In violation of Title 18, United States Code, Sections 1952(aXB) and2.




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                                  COUNT SIXTEEN

      The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

       On or about August 30,2017, at approximately 4:27 p.'.m. (Session #5043), at

Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, used a facility in interstate commerce, namely, a cellular telephone

assigned telephone number (312) XXX-4006, with intent to promote , manage,establish,

carry on; and facilitate the promotion, management, establishment and carrying on of an

uniawfirl activity, namely, a vioiation of 720ILCS 5/33-1 (Bribery),720ILCS 5/33-3(aX )

(Official Misconduct), and 720 ILCS 5129A-2 (Commercial Bribe Receiving), and

thereafber, the defendant did perform and attempt to perform an act to cawy on and

facilitate the promotion and carrying on of said unlawful activity;

       In violation of Title 18, United States Code, Sections 1952(a)(3) and.2.




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                                 COUNT SEVENTEEN

       The SPECIAL DECEMBER 201? GRAND JURY turther charges:

       1.     Paragraphs 1(a)-1(h), 1(o)-1(s), and 51-68 of Count One of this superseding

indictment are incorporated here.

       2.     Prior to on or about November 29, 2018, the Federal Bureau of
Investigation had initiated an investigation of BURKE and CUI concerning potential

violations of federal criminai law.

       3.     One issue material to the investigation was the reason why CUI offered to

hire BURKE as a tax appeal attorney in or around August 2017.

       4.     On or about November 29,20i-l8, at Chicago, in the Northern District of

Illinois, Eastern Division,

                                      CHARLES CUI,

defendant herein, did knowingly and willfully pake a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

Federal Bureau of Investigation, an agency within the executive branch of the

government of the United States, when he stated the following:




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      i.        CUI had made no business offers to BURKE during the pole signage

matter;

      ii.       CUI offered business to BURKE '!ust beeause he is a good tax appeal

lawyey''; and

       iii.     The information CUI provided to federal agents during his interview was

aceurate to the best of his knowledge

       In violation of Title 18, United States Code, Section 1001(aXZ).




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                                  COUNT EIGHTEEN

       The SPECIAL DECEMBER 2017 GRAND JUBY turther charges:

       In or around September 20t7, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,

                                 EDWARD M. BURKE,

defendant herein, did attempt to commit extortion, which extortion would obstruct,

delay, and a,ffect commerce, in that the defendant attempted to obtain property, namely,

money and other emplo;rment compensation to be provided by Museum 1 to Individual

E-1, with the eonsent of Museum 1, induced by the wrongful use of actual and threatened

fear of economic harm, and under color of offrcial right;

       In violation of Title 18, United States Code, Seetion 1951(a).




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                                       COUNT NINETEEN

           The SPECIAL DECEMBER 2017 GRAND JURY turther charges:

            On or about September 12,2Ol7,at approximately 10:16 a.m. (Session #5594), at

     chicago, in the Northern   r-":                                 and elsewhere,

                                        ;},I; ;::H:r,ro",
     defendant herein, used a facility in interstate commerce, namely, a celluiar telephone

     assigned telephone number (312) XXX-4006, with intent to promote, manage, establish,

     carry on, and facilitate the promotion, management, establishment and carrying on of an

     unlawful activity, namely, a violation of 18 U.S.C. $ 1951(a) (Extortion), and thereafter,

     the defendant did perform and attempt to perform an actto carry on and facilitate the

     promotion and carrying on of said unlawful activity;

            In violation of Title 18, United States Code, Sections 1952(a)(3) and.2.



                                                      A TRUE BILL:




                                                      FOREPERSON



     UNITED STATES ATTORNEY




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